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received by the Settlement Administrator. If you want to confirm receipt of your Claim Form, please
send an email to NorthShoreSettlement@lc.org, or call 407-875-1776, no earlier than two weeks after
you have mailed it (to allow for receipt and processing).

Option B: Object to the Settlement

The Court must assess the overall fairness and reasonableness of the Settlement to the Class. Even if
Class Members submit a Claim Form, they may comment on or object to the Settlement’s Programmatic
Relief and to the monetary relief if they have not opted out of the monetary relief.

To have your comment or objection to the Settlement considered by the Court or to speak at the Final
Approval Hearing, your written comment or objection to the Settlement must (1) be signed and
submitted to the Settlement Administrator; (2) include the name of this proceeding, Doe 1, et al. v.
NorthShore University HealthSystem, 1:21-cv-05683 (N.D. Ill.); (3) include an explanation of why you
think you are a member of the Settlement Class; (4) include a detailed description of the basis of the
comment or objection; (5) state whether you intend to appear at the Final Approval Hearing (if you will
appear through a lawyer, identify your lawyer by name, address, and telephone number); and (6) be
mailed to the Settlement Administrator and postmarked on or before November 18, 2022. You need
not be represented by an attorney to comment on or object to the Settlement.

 Settlement Administrator’s address:        NorthShore Employee Vaccine Settlement
                                            P.O. Box 23678
                                            Jacksonville, FL 32241-3678

 Class Counsel’s address:                   Horatio G. Mihet
                                            Roger K. Gannam
                                            Liberty Counsel
                                            P.O. Box 540774
                                            Orlando, FL 32854
                                            (407) 875-1776
                                            NorthShoreSettlement@lc.org

 NorthShore’s counsel’s address:            Marc R. Jacobs                Kevin P. Simpson
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                                            Chicago, IL 60606             (312) 558-3761
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